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        Andrews - 2005 Mazda 3/J48C Vehicle Program - DP Telephone Conference Call Notes - February 22, 2016
         Hirokazu Hirabayashi(X), Yuji Kamei(X), Toshihiko Kumagai(X), Masashi Shigetoh all from Autoliv Japan
                                                                       (X) worked on J48C program
                            Question/Follow up question                                                  Original Answer/Follow up question answer
            1.    What were the features of the seatbelt for the Mazda .148C program?
                                                                                                      Retractor R27LL Standard retractor with Load Limiter
                                                                                                      Buckle: PBP2   Buckle with Pyrotechnic Protonsioner

           Follow up 1-1) In any pre-sourcing discussion with Mazda, did Autoliv Japan discuss       F/U 1-1) No discussion of other seat belt retractor technology took place. Mazda came
           other seat belt retractor technologies or designs with Mazda? if yes, what were they?     to AutolivJapan with a predetermined/ predefined system.                     F/U 1-2)
    1      Follow up 1-2) Do we know why Mazda selected the R27LL retractor and PBP2 buckle          The Mazda 3 (148C) vehicle platform program was a partner development activity
           pretensioner for this vehicle?                                                            between Ford and Mazda in Europe. Mazda selected the R27LL retractor and buckle
                                                                                                     pretensioner for front seating positions. Autoliv buckle/POP and R27LL retractor
                                                                                                     selected because It would meet Mazda performance specifications for seat belt
                                                                                                     hardware.


           2.    What were the features of the seatbelt for the Mazda .148L program?
                                                                                                     Retractor: R200RPLL Retractor with Load Limiter and Pyrotechnic Pretensioner
                                                                                                     Buckle: 1(12J Buckle with No Pyro Protensioner
           Follow up 2-1) Did Mazda provide any reason or discussion for why they changed the        F/U 2-1) Decision to make a seat belt change in1481_ was made by Mazda. Mazda was
           seat belt system components from R27LL to R200RPLL? Why was the Buckle                    looking for restraint system cost reduction and asked what options were available.
           Pretensloner removed?                                                                     Mazda was also looking to improve NCAP score for .148L. Autoliv provided Information
    2                                                                                                that retractor pretensioner with load limiter and standard buckle was less expensive
                                                                                                    than standard retractor with load limiter and pyrotechnic buckle pretensioner. Autoliv
                                                                                                    provided samples and generic test results for Mazda review and analysis and Mazda
                                                                                                    made decision to change 148L seat belt system to pretensioner retractor with load
                                                                                                    limiter and standard buckle. Autoliv Japan not aware of any change to vehicle.


          3.   At the time Autoliv Japan received Mazda's specifications for the148C program,
                                                                                                    Autoliv Japan sold R200RPLL retractor (with no stopper) of Autoliv design, and Z—
          what types of torsion bars did AutolivJapan sell?
                                                                                                    type (with stopper) of NSK original design to other Japanese OEM's.

          Follow up 3-1) Did Mazda request information on different torsion bar load levels for    F/U 3-1) Original torsion bar load limiting level was decided (see F/U question 1-2).
         evaluation during the development of the seat belt system for the J48C vehicle?           Multiple torsion bar load limiting values were available for 112711 retractor.
         Follow up 3-2) Did AutolivJapan provide torsion bar data or torsion bar samples in        F/U 3-2) Autoliv Japan did provide multiple torsion bar load limit level performance data
3        various LL levels to Mazda for evaluation?                                                from sled tests to Mazda for evaluation and Mazda simulation work. Mazda did
         Follow up 3-3) When did Autolly Japan (or NSK) start selling IL stop limited retractor    evaluation and made selection of 2kN torsion bar,
         designs for use in Japan? Was Mazda aware of this design during the development of        F/U 3-3) The NSK Z-type retractor was available in 2000. The Autoliv R200RPO1LLS
         the 148C or was this technology presented to Mazda or quoted to Mazda?                    retractor first started production for Honda in 2002. Mazda was aware of the designs
                                                                                                   but stayed with original program content (see F/U 1-2 above) for J48C vehicle.


         4.   At the time AutolivJapan received Mazda's specifications for the 148C program,
                                                                                             Autoliv Japan sold FIZOOPRLL ( Retractor Pyro Pretensionor with Load Limiter) of
         what types of pretensioners did Autoliv Japan sell?
                                                                                             Autoliv design, and Z'-type (Retractor Pyro Pretensioner with Load Limiter) of
                                                                                             NSK original design to the other Japan OEM's.

4        Follow up 4-1) Retractor pretensioners, buckle pretensioners, lap pretensioners?          F/U 4-1) The two above mentioned retractor pretensloners were available for sale/use
                                                                                                   In Japan. The PBP2 buckle pretensioner used in the Mazda .148C was the first buckle
                                                                                                   pretensioner used by Autoliv Japan. There was not a lap pretensloner available for use
                                                                                                   at this time.


        5.   At the time Autoliv Japan received Mazda's specifications for the 148C program,
                                                                                                   Autoliv Japan sold Z—type retractor pretensioner which was NSK original design
        did Autoliv Japan sell load limiters with a stop feature?
                                                                                                   and was equipped with the stopper feature as standard.

        Follow up 5-1) When did Autoliv Japan (or NSK) start selling LL stop limited retractor     F/U 5-1) The NSK Z•type retractor pretensioner with load limiter and stop began
5       designs for use In Japan? Was Mazda aware of this design during the development of         production In 2000. The Autoliv R200RPO1LLS retractor pretensioner with load limiter
        the 148C or was this technology presented to Mazda or quoted to Mazda?                     and stop began production In September 2002 for a Honda program. Mazda may have
                                                                                                   been aware of this technology but stayed with original program content (see F/U 1-2
                                                                                                   above) for148C vehicle.

        6.    Did any other OEM purchase from Autoliv Japan the same torsion bar that was        Autoliv Japan sold R27LL only to Mazda. However, R2OORPO1LL/LLS which was
        in the 148C for Its vehicle at any time? If so, who?                                     equipped with same torque value torsion bar as Mazda R27L1was sold to
                                                                                                 Mitsubishi and Honda.
        Follow up 6-1) Were other Customers of Autoliv Japan using higher or lower level         F/U 6-1) Other Customers were using the same and higher level load limiting torsion
6       torsion bar values in any retractor design for their vehicles at the same time the .148C bars. The Mistubishl Outlander and Honda CRV used the same level torsion bar.
        was being developed or once it began production?                                         F/116-2) The Honda CRV used the Autoliv designed R200RP01LLS pretensioning load
        Follow up 6-2) Were other Customers using a stopper feature at the same time the J48C limiting retractor with the same level torsion bar which started production in September
        was being developed or once it began production?                                         2002.




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             7.   Did Autoliv Japan sell any torsion bars that had a lower deployment
             threshold/torque value than what was in the148c? If so, who bought them?                    The torque value of the torsion bar used in the J480 RZILL was 42Nm. and
                                                                                                         Autoliv Japan had 32-38Nm in the NSK designed Z—type retractor pretensioner
                                                                                                         with load limiter for isuzu.
     7       Follow up 7-1) Do you know specifically what Customers/vehicles used the lower level        F/t17-1) The Isuzu vehicle was the "Trooper".
             torsion bar In the same time frame of 2003- 2005 model year vehicles?



             8.    Who provided the initial specification for the seatbelt?
                                                                                                         Mazda provided the initial specification for seat bolt

            Follow up 8-1) What specifications did Mazda provide?                              Follow   F/U 8-1) Mazda provided the "ESG" specification, ESG-148f37060-D, which is a vehicle
            up 8-2) Did Autoliv Japan provide any Input for what type of features should be Included    system level specification that also includes program requirements for providing
            In this system level design specification?                                 Follow up 8-     drawings with Mazda requirements on them. The ESG specification is negotiated
            3) Did Mazda ask Autoliv Japan for any input on the system level design specification?      between Mazda and Autoliv and once agreed is released and provided by Mazda. The
     8                                                                                                  "MES" specification, MES PA 57060C, is a seat belt hardware specific requirement that is
                                                                                                        created, controlled and released by Mazda and includes specific seat belt performance
                                                                                                        requirements. for the subject seat belt assembly.
                                                                                                        F/U 8-2) The system level seat belt requirement stayed with the original program
                                                                                                        content (see F/U 1-2 above) for 148C vehicle.                                   F/U 8-
                                                                                                        3) Not on the seat belt system. Requirements for what drawings would be provided and
                                                                                                        What they looked like were discussed and included.

            9.    Who revised the specification for the seatbelt?
                                                                                                        Mazda revised the specification for the seatbelt

 9         Follow up 9-1) Does Autoliv Japan know why Mazda changed the specification of the         Fill 9-1) kWh, Japan and Mazda do discuss the specifications to make sure there is a
           seat belt requirements and the seat belt hardware type from the )48C vehicle to the .1481 clear understanding of requirements, but, Mazda creates, controls and releases the
           vehicle?                                                                                 performance specifications for the restraint systems components in their vehicles. See
                                                                                                        answer F/U 2-1above.
           10. What testing did Autoliv Japan do during the development process of the 148C
           seatbelt?                                                                                 Autoliv Japan conducted tests which were required in MES and ESG. MES and
                                                                                                     ESG were provided by Mazda. According to Mazda requirement, Autoliv Japan
                                                                                                     conducted sled tests and submitted the test data to Mazda.
 10        Follow up 10-1) The ESG ...this is the Mazda seat belt system in the vehicle level        F/U 10-1) The ESG is the vehicle level requirement for the seat belt system. The ESG
           engineering specification?                                                                includes a hardware integrity sled test.                                        F/U 10.
           Follow up 10-2) The MES is the Mazda component level seat belt engineering                2) The MES is the seat belt hardware level performance requirement.
           specification?
          11. Did Autoliv Japan do component level testing for the.148Cseatbelt? What kind?
                                                                                                    Autoliv Japan conducted DV and PV testa which were required in MES and ESG.

          Follow up 11-1) Was a FMVS5 209 independent test lab test from Dayton T Brown or          F/U 11-1) No. Autoliv Japan ran all testing required in Mazda "ESG" and "MES"
11        SGS Testing requested by Autoliv Japan for the .148C seat belts?                          specifications. Mazda did not request an independent lab test report for J48C. For MIL
                                                                                                    Mazda requested an independent test lab report to requirements of FMVSS 209 so
                                                                                                    testing was performed by SGS Testing.

          12. Did Autoliv Japan do in-vehicle testing for the .148C seatbelt? What kind?
                                                                                                    Mazda did vehicle crash test. Autoliv Japan did not do them. Autoliv Japan
                                                                                                    Interprets - in—vehicle to mean vehicle level tests.
          Follow up 12-1) Did Autoliv Japan provide Mazda with seat belt assemblies that had      F/U 12-1) Autoliv Japan did supply samples of R2711 retractors with different torsion bar
12        different torsion bars for Mazda evaluation?                                            load limiting levels to Mazda for Mazda evaluation but stayed with original program
          Follow up 12-2) Old Autoliv Japan provide Mazda any seat belt retractors with a LI stop content (see F/U 1-2 above) for .148C vehicle.                             F/U 12-2)
          for Mazda testing/evaluation?                                                           No. See above.
          Follow up 12-3) Did Autoliv provide Mazda any retractor other than a R2711. for Mazda F/U 12-3) No. See above.
          tests of the 148C vehicle?
         13. What tests were required by Mazda for the 148C seatbelt?
                                                                                                    Test items which were included in the Mazda MSS & ESG specifications, including
                                                                                                    sled tests in the ESG requirement
         Follow up 13-1) Did AutolivJapan run any sled tests for seat belt system development to F/U 13-1) No. Mazda defined original program content (see F/U 1-2 above) for.148C
13       help determine what LL torsion bar should used or if a II with stop should be used in the vehicle and did all system level testing.
         148C vehicle?                                                         Follow up 13-2)     F/U 13-2) The "ESG" specification includes a seat belt hardware integrity sled test.
         What was the purpose of any sled testing Autoliv Japan ran for the J48C seat belt
         assembly?

         14. Did Autoliv Japan attend any testing that Mazda performed for the J48C seatbelt?
                                                                                                   Autoliv Japan attended vehicle crash tests. However, it was just attendance, did
                                                                                                   not involve (was not involved In) the testing.
14       Follow up 14-1) Was Autoliv Japan asked for input or guidance on seat belt system         F/U 14-1) No. Only attended to watch test In case there was an issue with test parts
         hardware changes like torsion bar IL level or If a stop should be used based on the       supplied by Autoliv. There were no issues. Mazda defined hardware to use In the seat
         Mazda vehicle crash tests Autoliv attended?                                               belt system.
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           15. Did Mazda provide AutolivJapan with specific calculations, data or scores from
           its testing of the 148C seatbelt? What kind?                                             Mazda provided Autoliv some of video of vehicle crash test, vehicle pulse, dummy
                                                                                                    injury pulse
    15     Follow up 15-1) Did Mazda request Autoliv Japan to perform any performance analysis      F/U 15-1) No. Information that was provided was for general information use only. No
           of the seat belt system based on the information Mazda shared from the vehicle crash     analysis was requested by Mazda otAutoliv. All restraint system level decisions were
           tests Mazda performed for their .148C vehicle?                                           made by Mazda.
           16. Who made the ultimate decision regarding what seatbelt went into the 2005
           Mazda 3?                                                                                 The decision was made by Mazda.
    16    uu 16-1)148C?                                                                            F/U 16-1) See F/U 1-2 above.
          Fill 16-2) 1481?                                                                         F/U 16-2) See F/U 2-1 above.

          17. Were there any problems or Issues that happened during development of the
          J48C seatbelt?                                                                           Concern of noise was happened on rear seatbett.

          Follow up 17-1) Did Mazda ever indicate at any point of the development of the 148C       F/U 17-1) Mazda did not indicate any seat belt system level performance Issues.
   17     vehicle that the Autoliv Japan seat belt assembly Mazda specified for use in that vehicle
          wasn't correct, or good enough or didn't meet the Mazda MES or ESG engineering
          requirements?

         18. Why did Mazda choose a torsion bar with a higher deployment threshold in the
         148L seatbelt? Do we know?                                                                 If ItIs the threshold of crash sensor functioning, the responsibility belonged to OEM,
                                                                                                    and Autolivlapan was not informed.
         Follow up 18-1) Did Mazda ever indicate why the seat belt system in the J48C was           F/U 18-1) See F/U 24 above. Mazda requested a higher load limiting value but did not
         changed from a R27LL retractor with buckle pretensloner to a R200RPLL retractor with explain in detail why. Mazda previously mentioned a desire to improve NCAP scores.
         standard buckle for the .148L vehicle or why a different load limiting value was selected? F/U 18-2) Mazda never indicated if a vehicle change was the reason for the torsion bar
  18
         Follow up 18-2) Did Mazda ever indicate it needed to change the seat belt system from load limiting level change. Mazda requested a higher level load limiter/torsion bar so
         the .148C vehicle to the MK vehicle because of changes to the vehicle structure or desire Autoliv Japan supplied it,
         to modify the occupant kinematics/motion during a crash?




David Prentkowski - 23-Feb-2016
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           For the 2005 Mazda 3 (148C) Seat Belt and Air Bag Program between Autoliv Japan and Mazda
      Andrews —2005 Mazda 3 /J48C Vehicle program — DP telephone Conference call notes March 03, 2016
           Hirokazu Hirabayashi, Toshihiko Kumagai, Yuji Kamei, Masashi Shigetoh — all of Autoliv Japan


  1) What were the specific roles of Hirokazu (Hiro) Hirabayashi, Yuji Kamei and Toshihiko Kumagai of Autoliv Japan
     in the 2005 Mazda 3/J48C vehicle seat belt and air bag program?

      Hirokazu Hirabayashi was the Autoliv Japan Program Manager responsible to coordinate activities of the Autoliv
      Japan engineering team working on the Mazda 3 148C program. Hiro was responsible for the Passenger airbag
      and the seat belt system in the vehicle. Another team was responsible for the driver airbag and steering wheel
      work/interface.

      Yuji Kamei was the Autoliv Japan seat belt system engineer. Yuji was responsible for insuring the Autoliv Japan
      seat belt components and belt assemblies met all Mazda and regulatory specifications, packaging requirements
      for proper fit into the vehicle and following up on both Mazda and Autoliv drawings required to release,
      manufacturing/production control of the product once in production.

     Toshihiko (Toshi) Kumagai was the Autoliv Japan System Performance Engineer. Toshi was responsible to
     provide clear communication of Mazda system performance requirements to the Autoliv Japan J48C engineering
     team. He also helped to understand and interpret Mazda system performance test results to share that
     information with the rest of the Autoliv Japan 148C team.

 2) Did ALV Japan ever specifically present alternate seat belt technologies to Mazda for the 2005 Mazda vehicle
    program?

    Autoliv in Europe was the seat belt hardware supplier to the previous Mazda J39 program which used R200RPLL
     retractor technology. The supplier selection process and sourcing of business for the Mazda J48C vehicle
    program was managed between Ford, Mazda and Autoliv in Europe. Mazda selected the R2711 retractor, the
    PBP2 buckle pretensioner and the K12A buckle for use in the front seating positions of the Mazda 3/148C
    vehicle. When the vehicle restraint systems application work was moved to Japan, Mazda Japan stayed with the
    originally selected seat belt hardware for the vehicle. When work started in Japan, Mazda started a parallel seat
    belt system evaluation using the R200RPLL retractor and different torsion bar load limiting levels to evaluate
    restraint system performance. Mazda requested R200RPLL retractors with other torsion bar load limiting levels,
    which Autoliv Japan supplied, for Mazda system performance testing and evaluation. This was in the December
    2002 timeframe. After Mazda did their testing they made the decision to stay with the original R27LL, PBP2 and
    K12A buckle seat belt hardware for this vehicle (148C).

3) Did ALV Japan ever specifically present the idea or make a specific product presentation to Mazda about a load
   limiting retractor with a stop function?

    There was no discussion of a load limiter retractor with a stopper function between Autoliv Japan and Mazda for
    the MazdaJ48C vehicle program. Mazda was aware of Autoliv/NSK retractors with a stop function due to
    presentations made for other programs. The NSK Z-type retractor was available with a load limiting with stop
    function. The R200RPLLS retractor would start production in Japan for Honda in late 2002.

4) Did ALV Japan ever specifically present the range of torsion bar options available in ALV retractors and
   specifically the R27LL retractor?

   Yes. Mazda was provided R27LL retractor assemblies with "low", "medium" and "high" level torsion bars for
   Mazda testing and evaluation for the J48C vehicle program. After Mazda testing and evaluation, Mazda
   selected the R2711 torsion bar load limiting level.
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     5)    Did ALV Japan ever provide a copy of the R2711 Torsion bar drawing to Mazda during the development phase of
           the 2005 Mazda 3 vehicle program or review it in detail with Mazda so they knew what other LL TB's were
           available?

           See question 4) above. Mazda knew other torsion bars were available and Autoliv Japan provided retractor
           assemblies with other load limiting levels to Mazda for Mazda testing and evaluation for use in the 148C vehicle
           program. Unsure if Mazda was ever provided a copy of the torsion bar drawing.



  6)       How did Mazda specifically request or require the use of the R271L retractor and PBP2 for use in the 2005
           Mazda 3 (148C) vehicle?

           During original quoting and placing of business with Autoliv and by the Mazda "ESG" specification.



 7) The PV test report ALV Japan provided to Mazda for the 2005 Mazda 3 program includes the ESG-148C57060-D
    requirement (H-1) for E/A performance of the retractor. Was this test run "statically" or dynamically by a sled
    test, or both?

          The "H-1" requirement in the Mazda "ESG" is a static tensile test evaluation to demonstrate torsion bar load
          limit level. In the Mazda "ESG" in section H-2 there is a dynamic (sled test) hardware integrity test to verify no
          breakage or separation of seat belt parts under dynamic load.

 8)       Did ALV Japan ever run any sled tests specific to the seat belt assembly for Mazda during the development
          process? For what purpose?

          In the Mazda "ESG" in section H-2 there is a dynamic (sled test) hardware integrity test to verify no
          breakage or separation of seat belt parts under dynamic load. This testing was run and reported in the PV test
          report.

9)     Did Autoliv Japan ever make any recommendations to Mazda about use of retractor types? Different levels of
       torsion bars? Use of a LL stop device? Or did Autoliv Japan just make Mazda aware of options available and
       Mazda made the selections/choices?

       Mazda selected the R27LL retractor, K12A buckle and PBP2 pretensioner at sourcing. Mazda requested other
       retractor types and torsion bar load limiting levels for evaluation once the application development program
       was moved to japan. See answers to questions 2, 3, 4 and 5 above.



10) Did Autoliv Japan perform any system level testing in any way and provide that information to Mazda?

      Autoliv Japan did not perform any vehicle occupant restraint system level testing for the 148C program. All
      system level performance testing was done by Mazda.

      Autoliv Japan performed and reported on the testing required by Mazda per the Mazda "ESG" and 'IMES"
      specifications.
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   11) Did Autoliv Japan ever ask Mazda to include any type of warning labels to the seat belt assembly? Did Mazda
       ever indicate that they wanted to or should add any kind of warnings to the seat belt assembly

       Mazda defined and specifikj all label information on the J48C seat belt assemblies.



  12) Some of the top assembly drawings produced for this case have only Autoliv in the title block. Some have
      Mazda in the title block and Autoliv outside of the drawing frame. Why? Who provided the information to be
      shown on the Mazda top assembly drawing?

      As part of the 348C program, Autoliv was required to create both the Mazda top assembly drawings and the
      Autoliv top assembly and manufacturing drawings. All drawing input for the top assembly and any changes
      made to the Mazda top assembly drawings are controlled and released by Mazda. Autoliv would update the
      Mazda and Autoliv drawings once Mazda reviewed, approved and released the engineering changes Mazda
      requested.



 13) For the PV Test Data document produced by Autoliv Japan for the J48C program, it says Mazda Motor
     Corporation at the top left of the page. It says Client Name: Autoliv, at the top right of the page. It includes a
     signature/seal area at the top right. One of the seals is "Kamei". Is this Yuji Kamei? Was this testing and
     document performed and created by Autoliv or Mazda?

     This PV test report is an Autoliv Japan document. Autoliv Japan created the test report, did the testing and
     formatted the test report according to Mazda requirements. The name seal/stamp are Autoliv people who
     reviewed and approved the test report content before delivery to Mazda.



14) For the DV Test Summary document produced by Autoliv Japan for the 148C program, it says .148C Design
    Verification Document at the top left of the page. It also says MES PA 570670C at the top left of the page. There
    are no person names or company names on this document. Was this testing and document performed and
    created by Autoliv or Mazda?

    This is an Autoliv report for the Mazda 148C program, formatted per Mazda requirements and sent to Mazda.



15) Did Autoliv ever perform any kind of sled test or vehicle test during DV or PV to verify function of the seat belts
    or air bags as a system or at a component level other than what was required by the ESG/MES specifications??

    No. Autoliv performed the testing required per the Mazda "ESG" and "MES" specifications and reported those
    results to Mazda. All system level testing and vehicle level testing was performed by Mazda.
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